                    Case 4:22-cv-05035-DMR Document 7 Filed 09/07/22 Page 1 of 1
                                                                                                                            Reset Form

CAND Pay.gov Application for Refund (rev. 10/19)


                                  UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF CALIFORNIA
                 APPLICATION FOR REFUND (USDC-CAND PAY.GOV)

                                       PAY.GOV TRANSACTION DETAILS
IMPORTANT:
 • Complete all required.fields (shown in red*); othenvise, your request may be denied and require resubmission.
 • Infields 3-6, enter the informationfor the incorrect transaction (the one for which you are requesting a refund), not the correct
   transaction that appears on the docket. This information can be found in the Pay.gov screen receipt or confirmation email.

 1. Your Name:*            Inez Brown                                7. Your Phone Number: 213.439.9400
 2. Your Email Address: * ibrown@steptoe.com                         8. Full Case Number (if applicable): 22-cv-05034
 3. Receipt Number:*           ACANDC-17509582                                                □    Attorney Admission
 4. Transaction Date:*                                                                        l"JXXCivil Case Filing
                                9.6.2022
                                                                                                   FTR Audio Recording
                                                           9. Fee Type:*
 5. Transaction Time:* 6:48:40 ET                                                             IJI Notice of Appeal
 6. Transaction Amount                                                                        DI Pro Hae Vice
                                                                                              Id Writ of Habeas Corpus
   (Amount to be refunded}:* 402.00
 10. Reason for Refund Request:* Explain in detail what happened to cause duplicate charges or no fee required
 •   For a duplicate charge, provide the correct receipt number in thisfield.
     ffyou paid a.filing fee in an abandoned case number, note that case number here (but e-file the refund request in the open case) .
     The charge was made in error and no documents were filed in Case No. 22-cv-05034.
     Case No. 4:22-cv-05034 does not appear to be a valid case number per Clerk Diane Miyashiro

         Account Number: 6969247

✓      Efile this form using OTHER FILINGS ........ OTHER DOCUMENTS ....... APPLICATION FOR REFUND.
View detailed instructions at: canduscourts.gov/ecf/pavments. For assistance, contact the ECF Help Desk at l-866-638-7829 or
ecfhelpdesk@canduscourts.gov Monday -Friday 9:00 a.m.-4:00 p.m.
